Case 2:05-cr-20087-BBD Document 37 Filed 07/07/05 Page 1 of 2 Page|D 33

lN THE uNrTED sTATEs DlsTRlcT couRT w B" ---- °'°“
FoR THE wEsTERN olsTRlcT oF TENNEssE - - __ ,
wEsTERN olvlsioN E[15 JUL -'l PHlZ. 28

 

tt'bl#d~M.-GBH=S_
UNITED STATES OF AMER|CA a%UGSF ?;S?HFYM
Plaintit"f
VS.
CR. NO. 05-20087-D
RAFAEL FUENTES,

and EVA J. BRASKER

Defendant.

 

ORDER ON CONTiNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELA‘(
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursda\rl August 25l 2005l at 9:00 a.m., in Courtroom 3 9th F|oor of
the Federa| Building, Memphis, TN.

 

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this KQ'H\ day Of Ju|y, 2005.

  
   

 

B NICE B. D NALD
U TED STATES D|STR|CT JUDGE

T`ms door-ment entered on the :lr)c!-'.et s

, , ",\ -'.",’ ‘iJ- go
with i-‘.u:s ss aliu,-o. ¢-;w) l r\»‘\ ~1'»---~~-»

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
ease 2:05-CR-20087 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

